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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/19/2020
                                                                       :
AMI GAO et al.,                                                        :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :   20-CV-7517 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
UNITED STATES DEPARTMENT OF HOMELAND                                   :   REASSIGNMENT
SECURITY et al.,                                                       :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Counsel for all parties are hereby directed to file a joint status letter by October

20, 2020, describing the parties’ discussions, stating whether any issues in the case have been

narrowed or resolved, and, if applicable, proposing a briefing schedule for the Plaintiffs’ Motion

for Preliminary Injunction and Temporary Restraining Order (Dkt. 13) and any other anticipated

motions.

        In accordance with the Court’s Individual Rules and Practices for Civil Cases, requests for

extensions or adjournment may be made only by letter-motion filed on ECF and must be received

at least 48 hours (i.e., two business days) before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests
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were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 19, 2020                            __________________________________
       New York, New York                                   JOHN P. CRONAN
                                                          United States District Judge




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